Case 2:23-Cv-01879-JLR Document is~ Fired 01717124 Page tott

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AMAZON.COM, INC., a Delaware corporation; et al., NO. 2:23-cy-01879-JLR.
Plaintififs), AFFIDAVIT OF SERVICE OF: SUMMONS IN A
Vs. CIVIL ACTION; COMPLAINT FOR DAMAGES AND
INJUNCTIVE RELIEF.
DOES 1-20, unknown parties doing business as
“REKK,”; et al.,
n
Defendant(s).
STATE OF TENNESSEE ) ’ t
) ss. ‘ .
COUNTY OF HAMILTON }

The undersigned, being first duly sworn, on oath states:

That I am now, and at all times herein mentioned, was a citizen of the United States and a
resident of the State of Tennessee, over the age of 18 years, not a party to or interested in the above
entitled action, and am competent to be a witness therein.

That at 3:04 P.M. on December 13, 2023, at 1444 Ely Road, Hixson, Tennessee, I duly served
the above-described documents in the above-described matter upon Janiyah Alford, by then and there
personally delivering a true and correct copy ther8of by leaving the same with Jennifer Bejar, mother aid
resident of suitable age and discretion and co-resident, being a Caucasian female, approximately 44 years
old, 5°4, 120Ibs and with blonde hair, who confirmed that they both reside here.

Ainberly Sheel
KIMBERLY SKEEL
Service Fees: . .
Ferry tolls: SUBSCRIBED AND SWORN to before me on:__ 12/14/2023
Travel:
Bel Axi 4
Bad Address: DOr Le
Aff./Notary Fee:
Special Fee: NOTARY PUBLIC in and for the State
Wait: of Tennessee residing at: 128 S. Locust St.

My commission expires: _| ZS" ~7.77

TOTAL $(see invoice)

ODDIE HSA 0
Brittany Dawn Rue
\Notary Public, ID KYNP65685
/ } State at Large, Kentucky

My Commission Expires on Jan. 25, 2027 &

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